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                                                                                                                             JS-3
                                                        United States District Court
                                                        Central District of California


  UNITED STATES OF AMERICA vs.                                               Docket No.            CR 10-123 GHK

  Defendant          RUBIO, VINCENT                                          Social Security No. 6         7   6    8



                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH       DAY   YEAR
               In the presence of the attorney for the government, the defendant appeared in person on this date.       06      24    2013

  COUNSEL                                                     MARILYN BEDNARSKI, APPOINTED
                                                                            (Name of Counsel)

        PLEA         X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                 NOT
                                                                                                               CONTENDERE             GUILTY
   FINDING There being a FINDING of GUILTY, defendant has been convicted as charged of the offense(s) of:
          CONSPIRACY TO PAY KICKBACKS FOR PATIENT REFERRALS, CAUSING AN ACT TO BE DONE, in
          Violation of TITLE 42 U.S.C. § 1320a-7b(b)(2)(A), 18 U.S.C. § 371, 2(b); as charged in COUNT 1 of the
          INFORMATION, and; SUBSCRIPTION TO FALSE TAX RETURN, in violation of TITLE 26 U.S.C. § 7206 (1); as
          charge in COUNTS 2 AND 3 of the INFORMATION.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM
  ORDER

It is ordered that the defendant shall pay to the United States a special assessment of $300, which is due immediately.

It is further ordered that the defendant shall pay restitution in the total amount of $10,609,885 pursuant to 18 U.S.C. § 3663A.

The amount of restitution shall be paid to the victims listed in the confidential Presentence Report.

Restitution shall be paid in monthly installments of at least $100 or 10 percent of the defendant’s gross monthly income,
whichever is greater, during the period of supervised release and shall begin 30 days after the commencement of supervision.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another priority
order or percentage payment is specified in this judgment.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability
to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

The defendant shall comply with General Order No.01-05.

All fines are waived as it is found that the defendant does not have the ability to pay a fine in addition to restitution.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby PLACED on: PROBATION for
a term of THREE (3) YEARS. This term consists of 3 years on Count 1 and 1 year on each of Counts 2 and 3 of the Information,
all such terms to run concurrently under the following terms and conditions:

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\\ \\

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1. The defendant shall comply with the rules and regulations of the U. S. Probation Office and General Order 05-02;
2. The defendant shall participate in a program of home detention for a period of eight (8) months. The Court declines to order
electronic monitoring, GPS, or voice recognition monitoring. Court finds that it would cause a serious disruption in the
defendant’s ability to obtain the medical services that he is likely to need. The period of home detention shall not interfere with
the defendant’s ability to attend any and all medical appointments, treatments and/or therapy for the defendant’s condition,
including taking a walk as prescribed by his physician;
3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of placement on supervision, and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
directed by the Probation Officer;
4. The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes urinalysis,
breath, and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain from using illicit drugs and
alcohol, and abusing prescription medications during the period of supervision;
5. As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant’s drug and alcohol
dependency to the aftercare contractor during the period of community supervision, pursuant to 18 U.S.C. § 3672. The defendant
shall provide payment and proof of payment as directed by the Probation Officer;
6. During the period of community supervision the defendant shall pay the special assessment and restitution in accordance with
this judgment’s orders pertaining to such payment;
7. The defendant shall cooperate in the collection of a DNA sample from the defendant;
8. Defendant’s employment shall be approved by the Probation Officer, and any changes in employment must be pre-approved by
the Probation Officer;
9. The defendant shall apply all monies received from income tax refunds to the outstanding court-ordered financial obligation.
In addition, the defendant shall apply all monies received from lottery winnings, inheritance, judgments and any anticipated or
unexpected financial gains to the outstanding court-ordered financial obligation;

Bond is ordered exonerated.

Defendant waives his right to appeal.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




                      7/2/13
            Date                                                  GEORGE H. KING, CHIEF U.S. DISTRICT JUDGE

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Terry Nafisi, Clerk, U.S. District Court



                     7/2/13                                 By              /S/
            Filed Date                                            Beatrice Herrera, Courtroom Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


         The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or restitution
is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject to penalties
for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not applicable for offenses
completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the balance
as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

           The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or residence
until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

        The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust the
manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

         Payments shall be applied in the following order:

                    1. Special assessments pursuant to 18 U.S.C. §3013;
                    2. Restitution, in this sequence:
                              Private victims (individual and corporate),
                              Providers of compensation to private victims,
                              The United States as victim;
                    3. Fine;
                    4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                    5. Other penalties and costs.

                                 SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with




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 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.



                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal

                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk


                                                FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date


                    U. S. Probation Officer/Designated Witness                      Date




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                                       NOTICE PARTY SERVICE LIST
Case No.        CR 10-123 GHK                   Case Title U. S. A. v. VINCENT RUBIO
Title of Document          JUDGMENT/PROBATION COMMITMENT ORDER

        ADR                                                                US Attorneys Office - Civil Division -L.A.

        BAP (Bankruptcy Appellate Panel)                                   US Attorneys Office - Civil Division - S.A.
        BOP (Bureau of Prisons)                                            US Attorneys Office - Criminal Division -L.A.
        CA St Pub Defender (Calif. State PD)                               US Attorneys Office - Criminal Division -S.A.
        CAAG (California Attorney General’s Office -                       US Bankruptcy Court
        Keith H. Borjon, L.A. Death Penalty Coordinator)
                                                                           US Marshal Service - Los Angeles (USMLA)
        Case Asgmt Admin (Case Assignment
        Administrator)                                                     US Marshal Service - Riverside (USMED)
        Chief Deputy Admin                                                 US Marshal Service -Santa Ana (USMSA)
        Chief Deputy Ops                                                   US Probation Office (USPO)
        Clerk of Court                                                     US Trustee’s Office
        Death Penalty H/C (Law Clerks)                                     Warden, San Quentin State Prison, CA
        Dep In Chg E Div
                                                                            ADD NEW NOTICE PARTY
        Dep In Chg So Div                                                   (if sending by fax, mailing address must also be
                                                                            provided)
        Federal Public Defender
                                                                   Name:
        Fiscal Section
                                                                   Firm:
        Intake Section, Criminal LA
                                                                   Address (include suite or floor):
        Intake Section, Criminal SA
        Intake Supervisor, Civil
        MDL Panel
                                                                   *E-mail:
        Ninth Circuit Court of Appeal
                                                                   *Fax No.:
        PIA Clerk - Los Angeles (PIALA)                            * For CIVIL cases only
                                                                           JUDGE / MAGISTRATE JUDGE (list below):
        PIA Clerk - Riverside (PIAED)
        PIA Clerk - Santa Ana (PIASA)
        PSA - Los Angeles (PSALA)
        PSA - Riverside (PSAED)
        PSA - Santa Ana (PSASA)
        Schnack, Randall (CJA Supervising Attorney)                                       Initials of Deputy Clerk Bea

        Statistics Clerk



G-75 (07/08)                                      NOTICE PARTY SERVICE LIST
